       Case 4:12-cr-00293-LPR           Document 185        Filed 02/10/15      Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                   WESTERN DNISION


UNITED STATES OF AMERICA                                                      PLAINTIFF
Represented by Kristin Bryant

v.                                    4: 12CR00293-003 SWW

JAMES EARL GAMBLE, JR.                                                        DEFENDANT
Represented by Jack Kearney

       Clerk's Minutes for Proceedings Before U.S. District Judge Susan Webber Wright
                                Waiver of Indictment and Plea

Began: 1:10 p.m.

       On February 10. 2015 the above named defendant appeared in person before the

Honorable Susan Webber Wright, United States District Judge, and after being duly sworn,

defendant stated the desire to waive the indictment and enter plea of guilty to Count 1 of the

felony information. Waiver executed in open court. The Court made inquiry as to guilt and

being satisfied that there was a factual basis for the plea, accepted the plea of guilty and found the

defendant guilty as charged. The superseding indictment is dismissed on motion of the

government. The motion to sever defendant [doc #177] is denied as moot.

       The defendant is remanded to USM custody.

Plea Agreement & Addendum (under seal) filed in Open Court.

Probation: Audrene Ellis
Reporter: Cheryl Kellar
Clerk: Cecilia Norwood

Adjourned: 1:30 p.m.
